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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF NEW YORK


UNITED STATES OF AMERICA,

              v.                                             23-mj-1115

SIMON GOGOLACK,

                            Defendant.



                                          ORDER


       NOW, upon the request of the government, the complaint and affidavit is requested

to remain under seal until further Order of the Court.


       ORDERED that this matter will remain sealed until further Order of the Court.



       DATED: Buffalo, New York, August 17, 2023.




                                           HONORABLE JEREMIAH J. MCCARTHY
                                           United States Magistrate Judge
